        Case 2:21-cv-01412-ART-EJY          Document 437-1   Filed 01/06/25   Page 1 of 6



 1   BOIES SCHILLER FLEXNER LLP
     RICHARD J. POCKER (NV Bar No. 3568)
 2   300 South Fourth Street, Suite 800
     Las Vegas, NV 89101
 3   Telephone: 702.382.7300
     Facsimile: 702.382.2755
 4   rpocker@bsfllp.com
 5   BOIES SCHILLER FLEXNER LLP
     SIGRID S. MCCAWLEY (admitted pro hac vice)
 6   401 E. Las Olas Blvd., Suite 1200
     Ft. Lauderdale, FL 33301
 7   Telephone: 954.356.0011
     smccawley@bsfllp.com
 8
     BOIES SCHILLER FLEXNER LLP
 9   SABINA MARIELLA (admitted pro hac vice)
     LINDSEY RUFF (admitted pro hac vice)
10   55 Hudson Yards
     New York, NY 10001
11   Telephone: 212.446.2300
     smariella@bsfllp.com
12   lruff@bsfllp.com
13   Attorneys for Plaintiffs Sage Humphries,
     Gina Menichino, RoseMarie DeAngelo,
14   Danielle Gutierrez, Jane Doe 1, and
     Jane Doe 2
15

16                               UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA
18   SAGE HUMPHRIES, GINA MENICHINO,
     ROSEMARIE DeANGELO, DANIELLE
19   GUTIERREZ, JANE DOE 1,
     and JANE DOE 2                                Case Number: 2:21-cv-01412-ART-EJY
20
                   Plaintiffs,                     DECLARATION OF SIGRID S.
21                                                 MCCAWLEY IN SUPPORT OF
            vs.                                    PLAINTIFFS’ MOTION FOR
22                                                 SUMMARY JUDGMENT
     MITCHELL TAYLOR BUTTON and
23   DUSTY BUTTON,
24                 Defendants.
25

26

27

28

     DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFFS’ MOTION
                          FOR SUMMARY JUDGMENT
        Case 2:21-cv-01412-ART-EJY            Document 437-1        Filed 01/06/25      Page 2 of 6



 1   I, Sigrid S. McCawley, declare as follows:
 2          1.      I am an attorney and managing partner for the law firm Boies Schiller Flexner
 3   LLP, counsel of record for Plaintiffs in the above-captioned action. I submit this declaration in
 4   support of Plaintiffs’ Motion for Summary Judgment. I have personal knowledge of the facts
 5   set forth herein, and if called upon, could and would competently testify thereto under oath.
 6          2.      Attached hereto as Exhibit A is a true and correct copy of excerpts from the
 7   transcript of the deposition of Defendant Dusty Button.
 8          3.      Attached hereto as Exhibit B is a true and correct copy of excerpts from the
 9   transcript of the deposition of Defendant Mitchell Taylor Button.
10          4.      Attached hereto as Exhibit C is a true and correct copy of the November 6,
11   2009, Ballet News article entitled Cupcakes and Conversation with Dusty Button, Artist,
12   Birmingham Ballet.
13          5.      Attached hereto as Exhibit D is a true and correct copy of the February 28, 2011,
14   Dance Spirit article entitled The Dirt: Dusty Button.
15          6.      Attached hereto as Exhibit E is a true and correct copy of the September 14,
16   2013, Boston Globe article written by Joel brown entitled Dusty Button, a Dancer Just Hitting
17   Her Stride.
18          7.      Attached hereto as Exhibit F is a true and correct copy of the August 13, 2014,
19   Glamour article written by Leah Melby Clinton entitled Girls of Summer: Meet 9 Ballerinas
20   Who’s Off Stage Style is Right on Pointe.
21          8.      Attached hereto as Exhibit G is a true and correct copy of the November 5, 2014,
22   Dance Life article written by Amy Omernik entitled Principal Dusty Button Talks Inspiration,
23   Motivation, and Her Passions Outside of the Dance World.
24          9.      Attached hereto as Exhibit H is a true and correct copy of the February 1, 2015,
25   Pointe Magazine article written by Candice Thompson entitled The Road Less Traveled: Boston
26   Ballet’s Dusty Button Plays by Her Own Rules.
27          10.     Attached hereto as Exhibit I is a true and correct copy of the June 30, 2015,
28   Dance Magazine article written by Candice Thompson entitled Trending Now: #Competitions.

     DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFFS’ MOTION
                          FOR SUMMARY JUDGMENT
        Case 2:21-cv-01412-ART-EJY           Document 437-1      Filed 01/06/25     Page 3 of 6



 1          11.    Attached hereto as Exhibit J is a true and correct copy of the April 25, 2016,
 2   Dance Magazine article written by Jennifer Heimlich entitled Before They Were Stars, They
 3   Won YGAP.
 4          12.    Attached hereto as Exhibit K is a true and correct copy of a December 6, 2017,
 5   Red Bull Instagram Post featuring Dusty Button.
 6          13.    Attached hereto as Exhibit L is a true and correct copy of the December 28,
 7   2017, Dance Magazine article written by Lauren Wingenroth entitled The Definitive Ranking
 8   of All of Dusty Button’s Craziest Turning Videos.
 9          14.    Attached hereto as Exhibit M is a true and correct copy of the June 16, 2021,
10   WBTW article written by Braley Dodson entitled 15 Pro Athletes from the Myrtle Beach Area.
11          15.    Attached hereto as Exhibit N is a true and correct copy of the Dance Informa
12   article written by Allison Grupton entitled What I’ve Learned from Formula 1 Racers:
13   Ballerina Dusty Button.
14          16.    Attached hereto as Exhibit O is a true and correct copy of the Dance Informa
15   article entitled 10 Dancers to Follow on Social Media.
16          17.    Attached hereto as Exhibit P is a true and correct copy of the Dance Informa
17   article entitled BellaMoxi: So Much More than Medals.
18          18.    Attached hereto as Exhibit Q is a true and correct copy of the July 29, 2021,
19   New York Times article written by Julia Jacobs entitled Former Dance Instructor Accused of
20   Sexual Assault in Lawsuit.
21          19.    Attached hereto as Exhibit R is a true and correct copy of the September 28,
22   2021, Daily Mail article written by Rachel Sharp entitled Boston Ballet’s Former Star Dancer
23   is Hit by Three New Sex Attack Claims: Lawsuit Says Ballerina Pointed Gun at Underage Girl
24   while Her Husband Raped Her in Weapon Filled Room.
25          20.    Attached hereto as Exhibit S is a true and correct copy of the September 30,
26   2021, CNN article written by Melissa Alonso entitled A Former Boston Ballerina and Her
27   Husband Have Been Accused of Sexually Abusing Young Dancers, According to a Federal
28   Lawsuit.

     DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFFS’ MOTION
                          FOR SUMMARY JUDGMENT
        Case 2:21-cv-01412-ART-EJY            Document 437-1        Filed 01/06/25      Page 4 of 6



 1          21.      Attached hereto as Exhibit T is a true and correct copy of the December 1, 2021,
 2   Pointe Magazine article written by Kathleen McGuire entitled Grooming and Sexual Abuse in
 3   Ballet: Why Dancers are Especially Vulnerable.
 4          22.      Attached hereto as Exhibit U is a true and correct copy of the April 5, 2022,
 5   Cosmopolitan article written by Elizabeth M. Keifer entitled Rosie. Dani. Gina. Sage.
 6          23.      Attached hereto as Exhibit V is a true and correct copy of a transcript of the
 7   May 27, 2022, interview of Sage Humphries on Good Morning America entitled Ballerina
 8   Speaks out on Sexual Abuse Allegations against Former Boston Ballet Star.
 9          24.      Attached hereto as Exhibit W is a true and correct copy of the August 2, 2022,
10   Boston Magazine article written by Gretchen Voss entitled The Scandal Rocking Boston’s
11   Ballet World.
12          25.      Attached hereto as Exhibit X is a true and correct copy of the July 12, 2024,
13   amended complaint filed in Dusty Button and Mitchell Button v. Sigrid McCawley in the United
14   States District Court for the Southern District of Florida, Case No. 0:24-cv-60911-DSL.
15          26.      Attached hereto as Exbibit Y is a true and correct copy of the July 29, 2024
16   complaint filed in Dusty Button and Mitchell Taylor Button v. The New York Times Co., Julia
17   Jacobs, Lindsey Ruff, Sabina Mariella, Dawn Schneider, Demetri Blaisdell, and Dave McCraw
18   in the United States District Court for the Southern District of New York, Case No. 1:24-cv-
19   05888-UA.
20          27.      Attached hereto as Exhibit Z is a true and correct copy of the August 4, 2024
21   amended complaint filed in Dusty Button and Mitchell Taylor Button v. Madison Jane
22   Breshears in the United States District Court for the Southern District of New York, Case No.
23   1:24-cv-03757-MKV.
24          28.      Attached hereto as Exhibit AA is a true and correct copy of the August 7, 2024
25   complaint filed in Dusty Button and Mitchell Taylor Button v. Micah Humphries, Michael
26   Humphries, Katheryne Meyer, and Hannah Stolrow in the United States District Court for the
27   Central District of California, Case No. 8:24-cv-01730-JVS-DFM.
28

     DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFFS’ MOTION
                          FOR SUMMARY JUDGMENT
        Case 2:21-cv-01412-ART-EJY            Document 437-1         Filed 01/06/25      Page 5 of 6



 1          29.     Attached hereto as Exhibit BB is a true and correct copy of the September 18,
 2   2024 amended complaint filed in Dusty Button and Mitchel Taylor Button v. John Roe, Jane
 3   Roe, Robin Melone, and Katherine Thonis in the United States District Court for the District
 4   Court of New Hampshire, Case No. 1:24-cv-00220-SM-AJ.
 5          30.     Attached hereto as Exhibit CC is a true and correct copy of the November 6,
 6   2024 amended complaint filed in Dusty Button and Mitchell Taylor Button v. Juliet Doherty,
 7   Krista King-Doherty and Luis Pons in the United States District Court for the Southern District
 8   of New York, Case No. 1:24-cv-05026-JPC-KHP.
 9          31.     Attached hereto as Exhibit DD is a true and correct copy of Dr. Chitra
10   Raghavan’s psychological expert report regarding Gina Menichino.
11          32.     Attached hereto as Exhibit EE is a true and correct copy of Dr. Chitra
12   Raghavan’s psychological expert report regarding Danielle Gutierrez.
13          33.     Attached hereto as Exhibit FF is a true and correct copy of Dr. Chitra
14   Raghavan’s psychological expert report regarding Rosie DeAngelo.
15          34.     Attached hereto as Exhibit GG is a true and correct copy of Dr. Chitra
16   Raghavan’s psychological expert report regarding Sage Humphries.
17          35.     Attached hereto as Exhibit HH is a true and correct copy of Dr. Chitra
18   Raghavan’s psychological expert report regarding Jane Doe 1.
19          36.     Attached hereto as Exhibit II is a true and correct copy of a June 19, 2012 police
20   report filed with the Hillsborough County Sheriff’s Office.
21          37.     Attached hereto as Exhibit JJ is a true and correct copy of a May 15, 2018
22   police report filed with the Hillsborough County Sheriff’s Office.
23          38.     Attached hereto as Exhibit KK is a true and correct copy of an August 23, 2018
24   incident report filed with the Sommerville Police Department.
25          I declare under penalty of perjury that the foregoing is true and correct to the best of my
26   knowledge and belief.
27

28

     DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFFS’ MOTION
                          FOR SUMMARY JUDGMENT
       Case 2:21-cv-01412-ART-EJY   Document 437-1    Filed 01/06/25   Page 6 of 6



 1   Dated: January 6, 2025
 2                                       /s/Sigrid S. McCawley
                                         Sigrid S. McCawley
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFFS’ MOTION
                          FOR SUMMARY JUDGMENT
